18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 1 of 24




                           Exhibit B
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 2 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 3 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 4 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 5 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 6 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 7 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 8 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 9 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 10 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 11 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 12 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
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18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
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                             Subpoena Pg 15 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 16 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
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18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
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18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
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18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
                             Subpoena Pg 23 of 24
18-11094-scc   Doc 91-2   Filed 09/04/18 Entered 09/04/18 14:41:17   Exhibit (b)
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